      CASE 0:10-cr-00339-PJS-ECW             Doc. 435      Filed 07/18/12     Page 1 of 7




                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA


 UNITED STATES OF AMERICA,                             Case No. 10-CR-0339(6) (PJS/JJK)

                        Plaintiff,

 v.                                                                  ORDER

 CRUZ ROSALES,


                        Defendant.

       Jeffrey S. Paulsen, UNITED STATES ATTORNEY’S OFFICE, for plaintiff.

       Michael C. Hager, HAGER LAW OFFICE, for defendant Cruz Rosales.

       This matter is before the Court on the motion of defendant Cruz Rosales to unseal certain

documents. For the reasons stated below, the Court denies the motion and orders that redacted

versions of the documents be filed. The Court also orders Rosales to file a redacted version of

his motion to unseal.

                                       I. BACKGROUND

       Rosales pleaded guilty to conspiring to distribute and distributing methamphetamine and

other drugs and was recently sentenced to serve 42 months in prison. Before he pleaded guilty,

Rosales moved to suppress the fruits of a search at the Minneapolis/St. Paul International Airport

that was conducted by an agent of the Transportation Security Administration (“TSA”). After

two evidentiary hearings and multiple rounds of briefing, that motion was denied. ECF

Nos. 312, 340, 366.

       Just before trial was scheduled to begin, the government asked that certain portions of the

record relating to Rosales’s suppression motion be placed under seal because they contain
      CASE 0:10-cr-00339-PJS-ECW              Doc. 435      Filed 07/18/12     Page 2 of 7




sensitive security information about the TSA’s airport-screening criteria and procedures. So as

not to delay trial, the Court agreed to temporarily place certain documents under seal, with the

understanding that the parties would later litigate whether and to what extent the documents

should remain under seal. Rosales pleaded guilty shortly after the jury was selected.

       A few weeks later, Rosales moved to unseal three of the documents, including (1) the

transcript of the second hearing on his suppression motion [ECF No. 329]; (2) the government’s

supplemental memorandum in opposition to the suppression motion [ECF No. 3221]; and (3) the

supplemental Report and Recommendation (“R&R”) issued by Magistrate Judge Jeffrey J. Keyes

[ECF No. 330]. It is not clear why Rosales filed his motion. Rosales apparently sought to unseal

the documents so that they would be available for review on appeal. But by pleading guilty

unconditionally, Rosales waived his right to appeal the Court’s denial of his suppression motion.

United States v. Harner, 628 F.3d 999, 1000 (8th Cir. 2011). Setting that aside, the sealed

documents are part of the record in this case and are available to the Eighth Circuit. For

whatever reason, though, Rosales asked that the documents be unsealed, and the Court now turns

to his motion.

                                         II. ANALYSIS

       The government contends that unsealing the documents would constitute an unauthorized

disclosure of information that the TSA has designated as “sensitive security information,” or

“SSI.” See 49 U.S.C. § 114(r) (granting the TSA authority to prescribe regulations prohibiting



       1
         In its response, the government refers to the supplemental memorandum in opposition to
the suppression motion as ECF No. 321. That docket entry, however, refers to a document filed
in error. Instead, the supplemental memorandum in opposition to the suppression motion is filed
at ECF No. 322. The Court therefore treats ECF No. 322 as the subject of this motion.

                                                -2-
      CASE 0:10-cr-00339-PJS-ECW              Doc. 435      Filed 07/18/12      Page 3 of 7




the disclosure of information if such disclosure would be detrimental to transportation security).

Rather than unsealing the documents entirely, the government argues, the Court should file

redacted versions of the documents (which the government has provided). Rosales, for his part,

contends that the Court should unseal the documents entirely because the information at issue

does not qualify as SSI. Neither of these arguments, however, addresses the actual issue before

the Court: whether the Court should seal information that has already been publicly disclosed.

       By designating information as SSI, the TSA “creates an evidentiary privilege for

information the TSA determines would be detrimental to air safety if disclosed.” Chowdhury v.

Nw. Airlines Corp., 226 F.R.D. 608, 615 (N.D. Cal. 2004). In this case, though, the government

is not seeking to withhold information pursuant to a privilege. Instead, the government is asking

the Court to seal information that the government already voluntarily disclosed — and, in fact,

voluntarily placed on the public record.2 In light of the government’s voluntary public disclosure

of the information, the issue of whether the government could have withheld the information

pursuant to a privilege is moot. Cf. United States v. Davis, 583 F.3d 1081, 1090 (8th Cir. 2009)


       2
         The government represents that the parties entered into a non-disclosure agreement
regarding the information at issue. See ECF No. 372 at 3. The only non-disclosure agreement
referenced in the record, however, is an agreement that defense counsel apparently signed in
order to get access to a written TSA report concerning the search. See ECF No. 329 at 31.
Neither that TSA report, nor the actual non-disclosure agreement relating to it, are in the record.
Moreover, the record does not contain any other non-disclosure agreement that might cover the
information that Rosales seeks to unseal. Instead, the record reflects that the government’s
public disclosure of that information was not qualified in any way.
        In addition, the government’s public disclosure of the information was not inadvertent.
To the contrary, the government publicly disclosed the information in order to establish the
legality of a warrantless search and seizure, an issue on which it bore the burden of proof. See
United States v. Hughes, 517 F.3d 1013, 1019 (8th Cir. 2008). The government made this public
disclosure with the advice and counsel of a TSA attorney, who, in fact, attended the second
evidentiary hearing. See ECF No. 329 at 13.

                                                -3-
       CASE 0:10-cr-00339-PJS-ECW              Doc. 435      Filed 07/18/12      Page 4 of 7




(voluntary disclosure of attorney-client communications waives the privilege). Likewise, the

subsidiary question on which the existence of the privilege depends — namely, whether the TSA

correctly designated the information as SSI — is also moot.3

        The proper question, then, is whether this information should remain under seal — and

that question, in turn, implicates the Court’s inherent supervisory power over its own records.

See Webster Groves Sch. Dist. v Pulitzer Publ’g Co., 898 F.2d 1371, 1376 (8th Cir. 1990)

(“Every court has supervisory power over its own records.”) (quoting Nixon v. Warner

Commc’ns, Inc., 435 U.S. 589, 598 (1978)). The Court therefore analyzes Rosales’s motion to

unseal by applying the ordinary common-law principles applicable to the public’s right of access

to judicial records.4

        It is well established that the public has a “general right to inspect and copy public

records and documents, including judicial records and documents.” In re Neal, 461 F.3d 1048,

1053 (8th Cir. 2006) (quoting Nixon, 435 U.S. at 597). This common-law presumption of access,

however, is not absolute. The presumption in favor of disclosure may be overcome if the district



        3
        The government argues that only appellate courts have jurisdiction to decide whether the
TSA has correctly designated information as SSI. See Chowdhury, 226 F.R.D. at 614 (“Congress
has expressly provided that an appeal from an order of the TSA pursuant to section 114(s)
(non-disclosure of certain information) lies exclusively with the Court of Appeals.”). As
explained above, though, there is no need for this Court to decide whether the information was
properly designated as SSI (and thus privileged) because, even if it was, the information has
already been publicly disclosed. Whether or not this Court has jurisdiction to decide if the TSA
has correctly designation information as SSI is therefore irrelevant.
        4
         The Court recognizes that there is a qualified right of access to some judicial documents
under the First Amendment. See, e.g., In re Search Warrant for Secretarial Area Outside Office
of Gunn, 855 F.2d 569, 573-74 (8th Cir. 1988) (finding that the First Amendment extends to
affidavits filed in support of search warrants). Because the parties have not briefed the First
Amendment issue, however, the Court declines to reach it.

                                                 -4-
      CASE 0:10-cr-00339-PJS-ECW              Doc. 435      Filed 07/18/12      Page 5 of 7




court, in exercising its discretion and supervisory power over its files and records, determines

that competing interests outweigh the public’s right of access. See Webster Groves Sch. Dist.,

898 F.2d at 1376. The Eighth Circuit has cautioned that “only the most compelling reasons can

justify non-disclosure of judicial records.” In re Neal, 461 F.3d at 1053 (quoting In re Gitto

Global Corp., 422 F.3d 1, 6 (1st Cir. 2005)); but see United States v. McDougal, 103 F.3d 651,

657-58 (8th Cir. 1996) (rejecting the “strong presumption” in favor of disclosure that has been

adopted by other circuits).

       Here, the government argues that its interest in national security is compelling and

justifies the sealing of the original, unredacted documents that describe TSA criteria and

procedures. In lieu of the originals, the government presents redacted versions of the documents

and asks the Court to place those redacted documents on the public record. The portions of the

original documents that the government wishes to redact describe (albeit without great

specificity) some of the procedures that the TSA uses to conduct airport security screening and

the criteria that the TSA considers when assessing whether passengers should be subjected to

additional screening.

       Safeguarding the nation’s security is unquestionably a compelling interest. See Richmond

Newspapers, Inc. v. Virginia, 448 U.S. 555, 598 n.24 (1980) (Brennan, J. and Marshall, J.,

concurring); see also In re Washington Post Co., 807 F.2d 383, 391-392 (4th Cir. 1986). Having

reviewed the government’s proposed redactions, the Court agrees that the government has a

compelling interest in maintaining the secrecy of the information to be redacted. The TSA’s

criteria for screening passengers would provide valuable information to anyone attempting to

exploit weaknesses in airport security — attempts that, unfortunately, remain common. See


                                                -5-
      CASE 0:10-cr-00339-PJS-ECW             Doc. 435      Filed 07/18/12      Page 6 of 7




generally United States v. Abdulmutallab, No. 10–20005, 2011 WL 4345243, at *2 (E.D. Mich.

Sept. 16, 2011) (defendant detonated explosives concealed in his underwear); United States v.

Reid, 211 F. Supp. 2d 366, 366 (D. Mass. 2002) (defendant attempted to ignite explosives hidden

in his shoe). The government’s proposed redactions are narrow in scope and restrict only

information that describes the TSA’s procedures and criteria for conducting airport security

screenings.

       The Court therefore orders that the government’s proposed redacted versions of the

sealed documents be filed and denies Rosales’s motion to unseal. In addition, because Rosales’s

motion to unseal quotes redacted language from the supplement R&R, the Court orders that

Rosales’s motion to unseal [ECF No. 370] be placed under seal and that Rosales file a version of

the document with the quoted language in the first three lines of the second page redacted.

                                             ORDER

       Based on the foregoing, and on all of the files, records, and proceedings herein, IT IS

HEREBY ORDERED THAT:

       1.      Defendant Cruz Rosales’s motion to unseal [ECF No. 370] is DENIED.

       2.      The government is ordered to file the redacted versions of ECF Nos. 322 and 330.

               The Court will file a redacted version of ECF No. 329.

       3.      The Clerk of Court is ordered to place ECF No. 370 under seal.




                                               -6-
     CASE 0:10-cr-00339-PJS-ECW             Doc. 435     Filed 07/18/12         Page 7 of 7




     4.     Defendant is ordered to file a redacted version of his motion to unseal [ECF

            No. 370]. Specifically, defendant must file a version with the quoted language in

            the first three lines of page 2 redacted.

Dated: July 18, 2012                             s/Patrick J. Schiltz
                                                 Patrick J. Schiltz
                                                 United States District Judge




                                              -7-
